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                                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION

In re:                                                                 §      Case No. 15-34894
                                                                       §
JOHN S. MORSE                                                          §
GLORIA JEANNINE MORSE                                                  §
                                                                       §
                            Debtors                                    §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 09/17/2015. The
        undersigned trustee was appointed on 09/17/2015.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                            $12,457.68

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                     $0.00
                          Administrative expenses                                                                                         $9.17
                          Bank service fees                                                                                             $335.02
                          Other Payments to creditors                                                                                     $0.00
                          Non-estate funds paid to 3rd Parties                                                                            $0.00
                          Exemptions paid to the debtor                                                                                   $0.00
                          Other payments to the debtor                                                                                    $0.00

                          Leaving a balance on hand of1                                                                            $12,113.49

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.


1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
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     6. The deadline for filing non-governmental claims in this case was 03/05/2016 and the deadline
        for filing government claims was 03/15/2016. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $1,995.77. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $1,995.77,
for a total compensation of $1,995.772. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$0.00, for total expenses of $0.00.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 02/08/2019                                                         By:       /s/ Rodney D. Tow
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                   Page No:    1              Exhibit A
                                                                              ASSET CASES

Case No.:                   15-34894-H5-7                                                                                         Trustee Name:                               Rodney Tow
Case Name:                  MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                             Date Filed (f) or Converted (c):            09/17/2015 (f)
For the Period Ending:      2/8/2019                                                                                              §341(a) Meeting Date:                       10/20/2015
                                                                                                                                  Claims Bar Date:                            03/05/2016

                                 1                                2                     3                                 4                        5                                           6

                       Asset Description                        Petition/        Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                        Unscheduled       (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                     Value                 Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                               Less Liens, Exemptions,
                                                                                  and Other Costs)

 Ref. #
1       6822 Adrienne Arbor Drive, Spring, TX 77349              $340,000.00                             $0.00                                          $0.00                                            FA
Asset Notes:     Debtor's Homestead
2       12 South 17th Street, Kansas City, KS 66102               $25,000.00                             $0.00           OA                             $0.00                                            FA
Asset Notes:     12/19/2015 #55
3       1854 North 28th Street, Kansas City, KS 66104             $19,860.00                      $7,500.00                                        $7,500.00                                             FA
Asset Notes:     4/11/2017 #68
4       3607 Oakland Avenue, Kansas City, KS 66104                $25,000.00                             $0.00           OA                             $0.00                                            FA
Asset Notes:     12/19/2015 #55
5       30 North Boeke, Kansas City, KS 66102                     $20,000.00                             $0.00           OA                             $0.00                                            FA
Asset Notes:     12/19/2015 #55
6       1953 N 29TH STREET, KANSAS CITY, KS                       $35,000.00                             $0.00           OA                             $0.00                                            FA
Asset Notes:     12/19/2015 #55
7      4543 WELBORNE AVE., KANSAS CITY, KS                        $45,000.00                             $0.00           OA                             $0.00                                            FA
       66104
Asset Notes:  12/19/2015 #55
8      224 N 19TH STREET, KANSAS CITY, KS                         $35,000.00                      $1,936.00              OA                             $0.00                                            FA
       66102
Asset Notes:    12/19/2015 #55
9      3329 N 58TH STREET, KANSAS CITY, KS                        $55,000.00                     $19,500.00              OA                             $0.00                                            FA
       66104
Asset Notes:    12/19/2015 #55
10     15 N 15TH STREET, KANSAS CITY, KS                          $20,000.00                      $8,000.00              OA                             $0.00                                            FA
       66102
Asset Notes:   12/19/2015 #55
11     2914 LONGWOOD STREET, KANSAS CITY,                         $35,000.00                     $23,000.00              OA                             $0.00                                            FA
       KS 66104
Asset Notes:    12/19/2015 #55
12     2956 N 58TH STREET, KANSAS CITY, KS                        $40,000.00                      $9,165.00              OA                             $0.00                                            FA
       66104
Asset Notes:    12/19/2015 #55
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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    2              Exhibit A
                                                                                   ASSET CASES

Case No.:                     15-34894-H5-7                                                                                              Trustee Name:                               Rodney Tow
Case Name:                    MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                                  Date Filed (f) or Converted (c):            09/17/2015 (f)
For the Period Ending:        2/8/2019                                                                                                   §341(a) Meeting Date:                       10/20/2015
                                                                                                                                         Claims Bar Date:                            03/05/2016

                                    1                                 2                        3                                 4                        5                                           6

                          Asset Description                         Petition/           Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                           (Scheduled and                         Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                      Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                      Less Liens, Exemptions,
                                                                                         and Other Costs)

13     2101 S. BOEKE STREET, KANSAS CITY, KS                          $29,000.00                        $10,000.00              OA                              $0.00                                           FA
       66103
Asset Notes:    12/19/2015 #55
14     200 N 16TH STREET, KANSAS CITY, KS                             $21,000.00                         $1,646.00              OA                              $0.00                                           FA
       66102
Asset Notes:    12/19/2015 #55
15      Cash                                                                $60.00                          $60.00                                             $60.00                                           FA
16      Bank of America #2929                                             $1,192.68                      $1,272.68                                        $1,000.00                                             FA
17      UMB Checking #6267                                                  $80.00                          $80.00                                              $0.00                                           FA
18      Dining 625, BR1 100, BR2 110, BR3 650,                            $4,548.00                             $0.00                                           $0.00                                           FA
        Family 600, Breakfast 150, Kitchen 483, Family
        #2 225Laundry 300, Office 350 , patio 125,
        garage 830, (See Supplement to Schedule B)
19      23 books, 6 pictures, 32 CDs                                       $175.00                              $0.00                                           $0.00                                           FA
20      Debtor /Joint Debtor: clothes, shoes, accessories                 $1,000.00                             $0.00                                           $0.00                                           FA
21      2 wedding rings, 2 watches, costume jewelry                       $1,505.00                             $0.00                                           $0.00                                           FA
        (See Supplement to Sch B)
22      2 cameras, 2 iPads, 1 iPod, 2 DVD players                          $310.00                              $0.00                                           $0.00                                           FA
23      IRA – TD Ameritrade                                          $424,000.00                                $0.00                                           $0.00                                           FA
24      RGM Properties, LLC                                               Unknown                               $0.00                                           $0.00                                           FA
25      2012 Ford Explorer                                            $19,880.00                                $0.00                                           $0.00                                           FA
26      2011 Toyota Camry                                             $11,321.00                                $0.00                                           $0.00                                           FA
27      2003 Ford F150                                                $12,361.00                                $0.00                                           $0.00                                           FA
28      2002 Toyota Camry(170,000 miles)                                  $1,369.00                      $1,369.00              OA                              $0.00                                           FA
Asset Notes:        5/10/2016 #62
29      2001 Chevy Silverado (267,000 miles, rusted)                      $1,657.00                      $1,657.00              OA                              $0.00                                           FA
Asset Notes:        5/10/2016 #62
30      1 pet dog                                                            $1.00                              $0.00                                           $0.00                                           FA
31      Chase Unemployment Acct #6038                       (u)           $1,694.94                      $1,694.94                                              $0.00                                           FA
32      Wells Fargo Health Svcs., HSA Acct #8827            (u)            $563.66                         $272.68                                            $272.68                                           FA
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Case No.:                     15-34894-H5-7                                                                                                                   Trustee Name:                                Rodney Tow
Case Name:                    MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                                                       Date Filed (f) or Converted (c):             09/17/2015 (f)
For the Period Ending:        2/8/2019                                                                                                                        §341(a) Meeting Date:                        10/20/2015
                                                                                                                                                              Claims Bar Date:                             03/05/2016

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                        Asset Description                                      Petition/                 Estimated Net Value                     Property                  Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                      Unscheduled                (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                   Value                          Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

33      Debtors are co-signers on sons’ below accounts:            (u)                   $0.00                                   $0.00                                               $0.00                                            FA
        Grant Morse, Bank of America #8588 (balance
        8/24/15 $45.03); Ryan T. Morse, Bank of
        America #7635 (balance 9/11/15 $49,661.10)
34      Check #9810022188 from Graebel Van Lines in                (u)                $1,518.00                             $1,518.00                                                $0.00                                            FA
        payment of claim for damages to exempt
        personal property during move (see attached
        check and inventory)
35     Rent Collected for 1854 North 28th Street,                  (u)                   $0.00                              $3,625.00                                            $3,625.00                                            FA
       Kansas City, KS 66104
Asset Notes:     10/20/2016 #65


TOTALS (Excluding unknown value)                                                                                                                                                                         Gross Value of Remaining Assets
                                                                                $1,228,096.28                             $92,296.30                                            $12,457.68                                       $0.00




     Major Activities affecting case closing:
      03/26/2018     RT email to Heather:


                     Heather,


                     I just checked and we received the $7,500 in payments from her. Do you want to do the deed or have her get a local attorney to prepare it at her cost? I think a deed by you is fine but I
                     just don’t know if there are any nuances in Kansas law. Send it to me at my address below.


                     Thanks


                     Rodney
                     Rodney Tow, PLLC
                     1122 Highborne Cay Court
                     Texas City, Texas 77590
                     281-429-8300
      09/30/2017     JW-WE ARE COLLECTING MONTHLY PAYMENTS. LAST PAYMENT IS DUE FEBRUARY 2018.
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Case No.:                  15-34894-H5-7                                                                                                    Trustee Name:                               Rodney Tow
Case Name:                 MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                                        Date Filed (f) or Converted (c):            09/17/2015 (f)
For the Period Ending:     2/8/2019                                                                                                         §341(a) Meeting Date:                       10/20/2015
                                                                                                                                            Claims Bar Date:                            03/05/2016

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                       Asset Description                                  Petition/                Estimated Net Value           Property               Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                  Unscheduled               (Value Determined by           Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                               Value                         Trustee,          OA =§ 554(a) abandon.         the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

     04/11/2017     JW- Keighley shall pay $2,500.00 to the Trustee as a down payment immediately upon
                    entry of this order (if such down payment has not already been made to the
                    Trustee). Keighley shall then make monthly payments in the amount of $500.00
                    per month for the months of May 2017 through February 2018. The monthly
                    payments shall be delivered to the Trustee at his office (1122 Highborne Cay
                    Court, Texas City, TX 77590) on or before the fifth calendar day of each month.
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Case No.:                     15-34894-H5-7                                                                                                                      Trustee Name:                               Rodney Tow
Case Name:                    MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                                                          Date Filed (f) or Converted (c):            09/17/2015 (f)
For the Period Ending:        2/8/2019                                                                                                                           §341(a) Meeting Date:                       10/20/2015
                                                                                                                                                                 Claims Bar Date:                            03/05/2016

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                       Asset Description                                       Petition/                   Estimated Net Value                     Property                  Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                       Unscheduled                  (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
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                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

     09/12/2016     RT: email to real estate agent


                    T Nick Real Estate
                    6611 Parallel Parkway
                     Kansas City, KS 66102
                    Phone: 816-728-0966
                     Email: taiashanichols@yahoo.com


                    Taiasha,


                    I tried to call you but got your voicemail. I am a bankruptcy trustee in Houston, Texas. A couple filed bankruptcy here and I was appointed their bankruptcy trustee. They owned
                    several houses in Kansas City and I’ve attached a list of the houses which they owned. Of particular importance to me is the property on 1854 N. 28th St, Kansas City, KS 66104.
                    This property has no lien against it and I need to sell it. It was being managed by a company in Kansas City but I’m not sure the quality of the management they provided. I want to get
                    this home on the marked as soon as I can. It is possible there is a tenant in the home and if so, we need to start the process of having the tenant move. Please do a drive by and see what
                    you can learn on this property.


                    If the other homes on the Schedule A I have attached have not been foreclosed and have a value that will pay off the mortgage in full plus all closing costs and have at least a $5,000 return
                    to the bankruptcy estate, I will consider selling those through you as well but my belief is those homes will not have sufficient equity.


                    Finally, my paralegal, Julie Warren, is on this email as is an attorney representing me in this bankruptcy, Heather Potts. Either of them can assist you if you have questions.


                    My phone numbers are – cell 832-545-7346 and office 281-429-8301. Julie’s number is 281-429-8303. Heather’s is 713-275-8564. We will have to have you formally approved by the
                    bankruptcy court to sell this property and Heather will get you employed.


                    Please advise me as soon as possible if you are interested in listing this property. If not, can you refer me to a broker who can list it?

                    Thanks,


                    Rodney
     05/05/2016     RT: Call to Amy Antrim?? a Coldwell Broker agent 913-634-2724. Left a message.
     03/17/2016     RT: Call to Sheree. Tenant is in the 28th street property. They have not paid rent. I requested a rent roll on all properties. She was vague and so I asked that she get that form me.
                    She said she will see what she can find out and let me know.
     11/16/2015     RT: Call to Best Properties, 1977 N. 77th Street, Kansas City, KS 66112. Spoke to Cheri. 913-334-2000.
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Case No.:                   15-34894-H5-7                                                                                                                 Trustee Name:                                Rodney Tow
Case Name:                  MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                                                     Date Filed (f) or Converted (c):             09/17/2015 (f)
For the Period Ending:      2/8/2019                                                                                                                      §341(a) Meeting Date:                        10/20/2015
                                                                                                                                                          Claims Bar Date:                             03/05/2016

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                       Asset Description                                      Petition/                 Estimated Net Value                   Property                 Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                      Unscheduled                (Value Determined by                   Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                   Value                          Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

     11/03/2015     N.O. I uploaded a letter from Community Nat'l.Bank Attorneys.
     11/03/2015     RT 341 Notes--


                    12 S. 17th St--vacant. bad shape. tried to sell for the loan payoff but unable to sell. Abandon.


                    1854 N. 28th St--equity. sell.


                    3607 Oakland Ave--there is a tenant. Debtor unable to sell.


                    3329 N. 58th St.--was unable to sell at the mortgage amount.


                    ALL PROPERTIES EXCEPT THE FREE AND CLEAR HOME CAN BE ABANDONED. WE NEED TO CONTACT THE RENTAL AGENT--ROBERT STOCKMAN, BEST
                    PROPERTIES, KANSAS CITY, KANSAS. 913-334-2000. WE NEED TO REJECT ALL RENTAL CONTRACTS EXCEPT THE LEASE ON THE HOUSE OWNED FREE AND
                    CLEAR. HE THINKS HE TRIED TO SELL IT FOR $25,000. THE TENANTS PROBABLY CANNOT QUALIFY FOR A LOAN.


                    They have 3 licensed drivers but the son drives the old Camry and the F150 is sometime driven by Mr. Morse although he typically drives the 2011 Camry. There are two vehicles not
                    exempt. They are exempting the nicer vehicles and leaving the older ones not exempted but the son does not live at home and drives the older Camry so there are three licensed drives in
                    the home itself, the Ford F150 is paid in full, the 2011 Camry is too. The Explorer is not paid for. I'm not sure about the exemption on the F150. I think the exemptions are okay.


                    Asset Case.
     10/29/2015     N.O. I sent J.Warren an e-maol to check this account.
     10/29/2015     N.O. Please look at the tax returns. Owe taxes for 2014 $3,097 & for 2013 $6,345. On the questionnaire #5 Answered no to majority of debt incurred for personal & family.#18 yes
                    purchased house 2/19/2015. #23 yes has rental property,#24 yes had a business,will not keep it open ,#43 yes Made payments from pension ,#46 yes Conferred with an Attorney.
                    Has some Stock,has 5 autos. Recd.a check from Graebel Van lines for damages $1,518. On the bank accounts the account#7635 with a large bal. $49,661.10 appears to be one of the son's
                    his name Ryan Morse is at the top of bank statement both parents names are on it also. This account has Kansas address.There was a counter credit on 8/28/15 for $34,000.they then
                    had 2 w/d for $2,000 one on 9/8 & 9/9 /2015. The bal.on the schedules match most of the the statements. some of
                     dates or not filing day but saw no big amounts.I feel they have other bank accounts from the business or from the rental.


                    Received tax returns for 2013 & 2014,Questionnaire & some bank statements.
     09/30/2015     N.O. Received a request to reset 341 .It has been reset for 11/3/2015 @11:00.
     09/25/2015     N.O. On this case TES put the 341 at 10/22/15 @11:00 this was the first Trustee'date S/B 10/20/2015 @ 10/20/2015 @ 11:00 I changed it.
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                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                    Page No:    7              Exhibit A
                                                                               ASSET CASES

Case No.:                  15-34894-H5-7                                                                                            Trustee Name:                               Rodney Tow
Case Name:                 MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                                Date Filed (f) or Converted (c):            09/17/2015 (f)
For the Period Ending:     2/8/2019                                                                                                 §341(a) Meeting Date:                       10/20/2015
                                                                                                                                    Claims Bar Date:                            03/05/2016

                               1                                  2                          3                              4                        5                                           6

                       Asset Description                        Petition/             Estimated Net Value                Property               Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                        Unscheduled            (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                     Value                      Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

Initial Projected Date Of Final Report (TFR):    11/03/2017                 Current Projected Date Of Final Report (TFR):       06/06/2019               /s/ RODNEY TOW
                                                                                                                                                         RODNEY TOW
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-34894-H5-7                                                                 Trustee Name:                           Rodney Tow
 Case Name:                        MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                     Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***3218                                                                    Checking Acct #:                        ******4894
Co-Debtor Taxpayer ID #:           **-***3219                                                                    Account Title:                          DDA
For Period Beginning:              9/17/2015                                                                     Blanket bond (per case limit):          $77,534,000.00
For Period Ending:                 2/8/2019                                                                      Separate bond (if applicable):

       1                2                                    3                                         4                              5                        6                    7

   Transaction       Check /                               Paid to/            Description of Transaction         Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                            Received From                                            Tran Code            $                     $


01/20/2017                     Green Bank                               Transfer Funds                            9999-000          $4,907.95                                           $4,907.95
01/31/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                           $3.06            $4,904.89
02/28/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                           $7.14            $4,897.75
03/31/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                           $7.90            $4,889.85
04/05/2017            (3)      Shastina Keighley                        4/11/2017 #68                             1110-000          $2,500.00                                         $7,389.85
04/30/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $13.23            $7,376.62
05/03/2017            (3)      SHASTINA KEIGHLEY                        4/11/2017 #68                             1110-000            $500.00                                         $7,876.62
05/31/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $14.15            $7,862.47
06/13/2017            (3)      SHASTINA M. KEIGHLEY                     4/11/2017 #68                             1110-000            $500.00                                         $8,362.47
06/30/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $11.71            $8,350.76
07/06/2017            (3)      SHASTINA KEIGHLEY                        4/11/2017 #68                             1110-000            $200.00                                         $8,550.76
07/06/2017            (3)      SHASTINA KEIGHLEY                        4/11/2017 #68                             1110-000            $300.00                                         $8,850.76
07/31/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $13.00            $8,837.76
08/07/2017            (3)      SHASTING M. KEIGHLEY                     4/11/2017 #68                             1110-000            $500.00                                         $9,337.76
08/31/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $13.61            $9,324.15
09/07/2017            (3)      SHASTINA M. KEIGHLEY                     4/11/2017 #68                             1110-000            $500.00                                         $9,824.15
09/30/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $13.86            $9,810.29
10/04/2017            (3)      MRS.SHASTINA M. KEIGHLEY                 4/11/2017 #68                             1110-000            $500.00                                       $10,310.29
10/31/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $15.22          $10,295.07
11/08/2017            (3)      SHASTINA KEIGHLEY                        4/11/17 # 68                              1110-000            $500.00                                       $10,795.07
11/30/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $15.16          $10,779.91
12/09/2017            (3)      SHASTINA KEIGHLEY                        4/11/17 # 68                              1110-000            $500.00                                       $11,279.91
12/31/2017                     Integrity Bank                           Bank Service Fee                          2600-000                                          $16.49          $11,263.42
01/11/2018            (3)      SHASTINA KEIGHLEY                        LIQUIDATION OF PROPERTY 4/11/17 # 68      1110-000            $500.00                                       $11,763.42
01/17/2018           5001      International Sureties                   Bond Payment                              2300-000                                           $5.00          $11,758.42
01/31/2018                     Integrity Bank                           Bank Service Fee                          2600-000                                          $17.21          $11,741.21
02/13/2018            (3)      SHASTINA M KEIGHLEY                      LIQUIDATION OF PROPERTY 4/1/17 # 68       1110-000            $500.00                                       $12,241.21
02/28/2018                     Integrity Bank                           Bank Service Fee                          2600-000                                          $16.12          $12,225.09
                                                                                                                 SUBTOTALS          $12,407.95                     $182.86
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-34894-H5-7                                                                                        Trustee Name:                             Rodney Tow
 Case Name:                        MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                            Bank Name:                                Independent Bank
Primary Taxpayer ID #:             **-***3218                                                                                           Checking Acct #:                          ******4894
Co-Debtor Taxpayer ID #:           **-***3219                                                                                           Account Title:                            DDA
For Period Beginning:              9/17/2015                                                                                            Blanket bond (per case limit):            $77,534,000.00
For Period Ending:                 2/8/2019                                                                                             Separate bond (if applicable):

       1                2                                    3                                         4                                                        5                       6                      7

   Transaction       Check /                               Paid to/            Description of Transaction                                Uniform           Deposit              Disbursement                 Balance
      Date            Ref. #                            Received From                                                                   Tran Code            $                       $


03/31/2018                     Integrity Bank                           Bank Service Fee                                                 2600-000                                             $18.17           $12,206.92
04/30/2018                     Integrity Bank                           Bank Service Fee                                                 2600-000                                             $17.55           $12,189.37
05/31/2018                     Integrity Bank                           Bank Service Fee                                                 2600-000                                             $18.11           $12,171.26
06/30/2018                     Integrity Bank                           Bank Service Fee                                                 2600-000                                             $17.50           $12,153.76
07/31/2018                     Integrity Bank                           Bank Service Fee                                                 2600-000                                             $18.06           $12,135.70
08/05/2018                     Independent Bank                         Bank Service Fee                                                 2600-000                                              $2.90           $12,132.80
08/06/2018                     Independent Bank                         Bank Service Fee                                                 2600-000                                             ($2.90)          $12,135.70
08/31/2018                     Independent Bank                         Bank Service Fee                                                 2600-000                                           $212.37            $11,923.33
09/05/2018                     Independent Bank                         Bank Service Fee                                                 2600-000                                           ($212.37)          $12,135.70
09/06/2018                     Independent Bank                         Bank Service Fee                                                 2600-000                                             $18.04           $12,117.66
10/19/2018           5002      International Sureties                   Bond Payment                                                     2300-000                                              $4.17           $12,113.49
11/19/2018           5002      STOP PAYMENT: International Sureties     Stop Payment for Check# 5002                                     2300-004                                             ($4.17)          $12,117.66
11/19/2018           5003      International Sureties                   Bond Payment                                                     2300-000                                              $4.17           $12,113.49

                                                                                           TOTALS:                                                            $12,407.95                    $294.46            $12,113.49
                                                                                               Less: Bank transfers/CDs                                        $4,907.95                      $0.00
                                                                                           Subtotal                                                            $7,500.00                    $294.46
                                                                                               Less: Payments to debtors                                           $0.00                      $0.00
                                                                                           Net                                                                 $7,500.00                    $294.46



                     For the period of 9/17/2015 to 2/8/2019                                                         For the entire history of the account between 01/20/2017 to 2/8/2019

                     Total Compensable Receipts:                          $7,500.00                                  Total Compensable Receipts:                                        $7,500.00
                     Total Non-Compensable Receipts:                          $0.00                                  Total Non-Compensable Receipts:                                        $0.00
                     Total Comp/Non Comp Receipts:                        $7,500.00                                  Total Comp/Non Comp Receipts:                                      $7,500.00
                     Total Internal/Transfer Receipts:                    $4,907.95                                  Total Internal/Transfer Receipts:                                  $4,907.95


                     Total Compensable Disbursements:                      $294.46                                   Total Compensable Disbursements:                                    $294.46
                     Total Non-Compensable Disbursements:                    $0.00                                   Total Non-Compensable Disbursements:                                  $0.00
                     Total Comp/Non Comp Disbursements:                    $294.46                                   Total Comp/Non Comp Disbursements:                                  $294.46
                     Total Internal/Transfer Disbursements:                  $0.00                                   Total Internal/Transfer Disbursements:                                $0.00
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-34894-H5-7                                                                                 Trustee Name:                           Rodney Tow
 Case Name:                        MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                     Bank Name:                              Green Bank
Primary Taxpayer ID #:             **-***3218                                                                                    Checking Acct #:                        ******9401
Co-Debtor Taxpayer ID #:           **-***3219                                                                                    Account Title:                          Checking Account
For Period Beginning:              9/17/2015                                                                                     Blanket bond (per case limit):          $77,534,000.00
For Period Ending:                 2/8/2019                                                                                      Separate bond (if applicable):

       1                2                              3                                            4                                                 5                        6                      7

   Transaction       Check /                         Paid to/               Description of Transaction                            Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                      Received From                                                                  Tran Code            $                     $


12/01/2015                     John and Gloria Morse                 Turnover of Liquid Assets                                       *              $1,332.68                                             $1,332.68
                      {16}                                           Bank of America Account XXXX2929                $1,000.00    1129-000                                                              $1,332.68
                      {15}                                           Cash on Hand                                      $60.00     1129-000                                                              $1,332.68
                      {32}                                           Wells Fargo Account                              $272.68     1229-000                                                              $1,332.68
12/31/2015                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.15            $1,330.53
01/29/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.14            $1,328.39
02/29/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.00            $1,326.39
03/31/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.14            $1,324.25
04/29/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.13            $1,322.12
05/31/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.06            $1,320.06
06/30/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.06            $1,318.00
07/29/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.12            $1,315.88
08/31/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $2.12            $1,313.76
09/28/2016            (35)     John and Gloria Morse                 10/20/2016 #65--Received from Best Properties                1222-000          $3,625.00                                           $4,938.76
09/30/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $3.13            $4,935.63
10/31/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $7.45            $4,928.18
11/30/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $7.69            $4,920.49
12/30/2016                     Green Bank                            Bank Service Fee                                             2600-000                                             $7.94            $4,912.55
01/20/2017                     Green Bank                            Bank Service Fee                                             2600-000                                             $4.60            $4,907.95
01/20/2017                     Integrity Bank                        Transfer Funds                                               9999-000                                         $4,907.95                  $0.00




                                                                                                                                 SUBTOTALS           $4,957.68                     $4,957.68
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-34894-H5-7                                                                                  Trustee Name:                            Rodney Tow
Case Name:                        MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                      Bank Name:                               Green Bank
Primary Taxpayer ID #:            **-***3218                                                                                     Checking Acct #:                         ******9401
Co-Debtor Taxpayer ID #:          **-***3219                                                                                     Account Title:                           Checking Account
For Period Beginning:             9/17/2015                                                                                      Blanket bond (per case limit):           $77,534,000.00
For Period Ending:                2/8/2019                                                                                       Separate bond (if applicable):

      1                 2                                3                                        4                                                     5                       6                      7

  Transaction        Check /                         Paid to/             Description of Transaction                              Uniform           Deposit             Disbursement                 Balance
     Date             Ref. #                      Received From                                                                  Tran Code            $                      $


                                                                                    TOTALS:                                                            $4,957.68                    $4,957.68                  $0.00
                                                                                        Less: Bank transfers/CDs                                           $0.00                    $4,907.95
                                                                                    Subtotal                                                           $4,957.68                       $49.73
                                                                                        Less: Payments to debtors                                          $0.00                        $0.00
                                                                                    Net                                                                $4,957.68                       $49.73



                     For the period of 9/17/2015 to 2/8/2019                                                  For the entire history of the account between 12/01/2015 to 2/8/2019

                     Total Compensable Receipts:                     $4,957.68                                Total Compensable Receipts:                                       $4,957.68
                     Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                   $4,957.68                                Total Comp/Non Comp Receipts:                                     $4,957.68
                     Total Internal/Transfer Receipts:                   $0.00                                Total Internal/Transfer Receipts:                                     $0.00


                     Total Compensable Disbursements:                   $49.73                                Total Compensable Disbursements:                                     $49.73
                     Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                                  $0.00
                     Total Comp/Non Comp Disbursements:                 $49.73                                Total Comp/Non Comp Disbursements:                                   $49.73
                     Total Internal/Transfer Disbursements:          $4,907.95                                Total Internal/Transfer Disbursements:                            $4,907.95
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-34894-H5-7                                                                           Trustee Name:                           Rodney Tow
Case Name:                       MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                               Bank Name:                              Green Bank
Primary Taxpayer ID #:           **-***3218                                                                              Checking Acct #:                        ******9401
Co-Debtor Taxpayer ID #:         **-***3219                                                                              Account Title:                          Checking Account
For Period Beginning:            9/17/2015                                                                               Blanket bond (per case limit):          $77,534,000.00
For Period Ending:               2/8/2019                                                                                Separate bond (if applicable):

      1                 2                                3                                       4                                             5                       6                    7

  Transaction        Check /                         Paid to/            Description of Transaction                       Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                      Received From                                                          Tran Code            $                     $




                                                                                                                                                                            NET             ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE            BALANCES

                                                                                                                                            $12,457.68                     $344.19          $12,113.49




                     For the period of 9/17/2015 to 2/8/2019                                          For the entire history of the case between 09/17/2015 to 2/8/2019

                     Total Compensable Receipts:                    $12,457.68                        Total Compensable Receipts:                                  $12,457.68
                     Total Non-Compensable Receipts:                     $0.00                        Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                  $12,457.68                        Total Comp/Non Comp Receipts:                                $12,457.68
                     Total Internal/Transfer Receipts:               $4,907.95                        Total Internal/Transfer Receipts:                             $4,907.95


                     Total Compensable Disbursements:                  $344.19                        Total Compensable Disbursements:                                   $344.19
                     Total Non-Compensable Disbursements:                $0.00                        Total Non-Compensable Disbursements:                                 $0.00
                     Total Comp/Non Comp Disbursements:                $344.19                        Total Comp/Non Comp Disbursements:                                 $344.19
                     Total Internal/Transfer Disbursements:          $4,907.95                        Total Internal/Transfer Disbursements:                           $4,907.95




                                                                                                                      /s/ RODNEY TOW
                                                                                                                      RODNEY TOW
                                                Case 15-34894 DocumentCLAIM
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                                                                            ANALYSIS REPORT                                                 Page No: 1            Exhibit C


 Case No.                      15-34894-H5-7                                                                             Trustee Name:              Rodney Tow
 Case Name:                    MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                                 Date:                      2/8/2019
 Claims Bar Date:              03/05/2016

Claim               Creditor Name       Claim          Claim Class     Claim    Uniform     Scheduled    Claim        Amount        Amount           Interest     Tax            Net
No.:                                    Date                          Status    Tran Code   Amount       Amount       Allowed        Paid                                     Remaining
                                                                                                                                                                               Balance

        OSTROM MORRIS, PLLC           12/27/2018   Trustee Attorney   Allowed   3210-000         $0.00    $5,664.00    $5,664.00         $0.00            $0.00      $0.00     $5,664.00
                                                   Fees
        OSTROM MORRIS, PLLC           12/27/2018   Trustee Attorney   Allowed   3220-000         $0.00     $201.50      $201.50          $0.00            $0.00      $0.00       $201.50
                                                   Expenses
        RODNEY D. TOW                 12/27/2018   TRUSTEE            Allowed   2100-000         $0.00    $1,995.77    $1,995.77         $0.00            $0.00      $0.00     $1,995.77
                                                   COMPENSATION
         1122 Highborne Cay Court
         Texas City TX 77590-1403
    1   ARGENTINE FEDERAL             02/25/2016   UNSECURED          Allowed   7100-000         $0.00   $59,843.98   $59,843.98         $0.00            $0.00      $0.00    $59,843.98
        SAVINGS
         c/o James E. Cuellar
         440 Louisiana, Suite 718
         Tex as 77002
                                                                                                         $67,705.25   $67,705.25         $0.00            $0.00     $0.00     $67,705.25
                                            Case 15-34894 DocumentCLAIM
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                                                                        ANALYSIS REPORT                                                Page No: 2             Exhibit C


Case No.                     15-34894-H5-7                                                                         Trustee Name:               Rodney Tow
Case Name:                   MORSE, JOHN S. AND MORSE, GLORIA JEANNINE                                             Date:                       2/8/2019
Claims Bar Date:             03/05/2016


      CLAIM CLASS SUMMARY TOTALS

                                       Claim Class                       Claim        Amount       Amount                   Interest                Tax              Net
                                                                         Amount       Allowed       Paid                                                          Remaining
                                                                                                                                                                   Balance


           Trustee Attorney Expenses                                       $201.50       $201.50           $0.00                   $0.00              $0.00               $201.50

           Trustee Attorney Fees                                          $5,664.00    $5,664.00           $0.00                   $0.00              $0.00           $5,664.00

           TRUSTEE COMPENSATION                                           $1,995.77    $1,995.77           $0.00                   $0.00              $0.00           $1,995.77

           UNSECURED                                                     $59,843.98   $59,843.98           $0.00                   $0.00              $0.00          $59,843.98
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                                                                                              Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           15-34894
Case Name:          JOHN S. MORSE
                    GLORIA JEANNINE MORSE
Trustee Name:       Rodney D. Tow

                                                               Balance on hand:                   $12,113.49


         Claims of secured creditors will be paid as follows: NONE



                                           Total to be paid to secured creditors:                      $0.00
                                                            Remaining balance:                    $12,113.49

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                    Total          Interim          Proposed
                                                                Requested       Payments to         Payment
                                                                                      Date
Rodney D. Tow, Trustee Fees                                      $1,995.77            $0.00         $1,995.77
Ostrom Morris, PLLC, Attorney for Trustee Fees                   $5,664.00            $0.00         $5,664.00
Ostrom Morris, PLLC, Attorney for Trustee                          $201.50            $0.00            $201.50
Expenses


                          Total to be paid for chapter 7 administrative expenses:                  $7,861.27
                                                             Remaining balance:                    $4,252.22

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                      $0.00
                                                             Remaining balance:                    $4,252.22

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

         Allowed priority claims are: NONE



                                              Total to be paid to priority claims:                     $0.00
                                                             Remaining balance:                    $4,252.22


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        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $59,843.98 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 7.1 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.          Interim       Proposed
                                                                    of Claim      Payments to       Amount
                                                                                        Date
           1 Argentine Federal Savings                            $59,843.98            $0.00      $4,252.22


                                Total to be paid to timely general unsecured claims:              $4,252.22
                                                                Remaining balance:                    $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                    $0.00
                                                              Remaining balance:                      $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                           Total to be paid for subordinated claims:                  $0.00
                                                                 Remaining balance:                   $0.00




UST Form 101-7-TFR (5/1/2011)
